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                                                                                          JS-6
                                UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES CLOSING

  Case No SACV 19-00150JVS(ADSx)                                   Date: December 6, 2021


  Title: Crescencio Villalobos v Downey Grinding Co, et al

  Present JAMES V. SELNA, United States District Court Judge

                   Lisa Bredahl                                 Not Present
                   Deputy Clerk                                Court Reporter

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  Attorneys for Plaintiff                                          Attorneys for Defendant

  Not Present                                                              Not Present

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  Proceedings:             G In Court               X In Chambers          G Counsel Notified

  G       Case previously closed in error. Make JS-5.

  X       Case should have been closed on docket entry #106 on 11/18/21. Make JS-6.

  G       Case settled but may be reopened if settlement is not finalized within            days. Make
          JS-6.

  G       Other:                         .

  G       Entered                               .




  CV-74 (08/97)                                            Initials by Deputy Clerk       lmb
